    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 1 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas




        9 FAM APPENDIX G, 500
   WASHINGTON SPECIAL CLEARANCES
  SECURITY ADVISORY OPINIONS (SAO)
                (SBU)
                        (CT:VISA-1643; 05-02-2011)
                         (Office of Origin: CA/VO/L/R)


9 FAM APPENDIX G, 501 GENERAL GUIDANCE
(SBU)

9 FAM Appendix G, 501.1 When Are Special
Clearances Required? (SBU)
(CT:VISA-1643;     05-02-2011)
(SBU) A special clearance from Washington, DC is mandatory in cases of
name check-based hits, nationality-
background and/or intentions while in the United States. In any visa case a
special clearance may be requested at the discretion of a consular officer.
You must request a Security Advisory Opinion (SAO) in the following
circumstances:
  (1)   (SBU) The Consular Lookout and Support System (CLASS) name
        check returns a "DPT-00" hit or an actual or quasi-hit (preceded by
        the letter "P") for any of the INA 212(a)(3) (8 U.S.C. 1182(a)(3))
        ineligibilities, or any other Category I ineligibility or potential
        ineligibility relating to national security or foreign policy. For some
              -
        (TSC) and have a TSC number as the Unique ID there are
        fingerprints on file in the DHS IDENT fingerprint system and in the
        FBI IAFIS fingerprint system. These hits will generate indicators
        (Biometrics: Photo and Fingerprints; or Biometrics: Fingerprints) in
        the Hit Display Window in the NIV or IVO System, which mean that

        considering a possible match of a visa applicant with a TSC record,
        if Fingerprints are indicated and neither the IDENT check nor the
        IAFIS check produced a match with a KST record, the officer may

                                                   9 FAM Appendix G 500 Page 1 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
  Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 2 of 29
                SENSITIVE BUT UNCLASSIFIED (SBU)
               (Deliberative process; law enforcement information)
         U.S. Department of State Foreign Affairs Manual Volume 9    Visas

       exclude that possible match as not being a true match with the
       applicant.                -
       Screening Center (TSC) and have a TSC number as the Unique ID
       there is a photo or photos available in the Consular Consolidated
       Database (CCD). These hits will generate indicators (Biometrics:
       Photo; or Biometrics: Photo and Fingerprints) in the Hit Display

       photo is available in the CCD. In considering a possible match of a
       visa applicant with a TSC record, if a Photo is indicated, the
       consular officer may click on the link on the unique identifier (for
       example: UID: TSC 5050505) to view a CCD report that displays
       the KST photo(s) to assist in determining if there is a true match.
       While the photo is available to assist the consular officer when
       needed, CA expects officers to view the photo to determine a
       possible match prior to sending an SAO.
 (2)   (SBU) You know or have reasonable ground to believe that the
       applicant may be subject to any of the INA 212(a)(3) (8 U.S.C.
       1182(a)(3)) ineligibilities, regardless of the results of the CLASS
       name check, based on information supplied during the application
       process or from other sources. This includes cases where the
       consular officer plans to refuse the applicant under INA 214(b) (8
       U.S.C. 1184(b)), but the officer also has reason to suspect the
       applicant might in any way be involved in terrorist activity. This
       also includes cases that may be politically sensitive and should
       therefore be reviewed by the Department even if no ineligibility
       exists;
 (3)   (SBU) The applicant is of a nationality and/or category (including
       age) subject to country-specific clearance requirements. This
       includes nationals subject to Presidential Proclamations under INA
       212(f) (8 U.S.C. 1182(f)), which suspends the entry into the United
       States of specified aliens or classes of aliens whose entry would be
       detrimental to the interests of the United States. You can find this
       information on the Consular Affairs (CA) Web site at: Presidential
       Proclamations, and also via embedded links in the Reciprocity
       Schedule; or
 (4)   (SBU) The applicant may fall within the scope of Presidential
       Proclamation 7750, which suspends entry as immigrants or
       nonimmigrants persons engaged in or benefiting from corruption
       (see Presidential Proclamation 7750).


9 FAM Appendix G, 501.2 How Do I Request a
                                                 9 FAM Appendix G 500 Page 2 of 29

                SENSITIVE BUT UNCLASSIFIED (SBU)
    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 3 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

Special Clearance? (SBU)
(CT:VISA-1233;     06-23-2009)
(SBU) All special clearance requests must be submitted in the form of a
security advisory opinion (SAO). Currently, you must submit an SAO
through the Nonimmigrant Visas/Immigrant Visas (NIV/IV) software. Do
not/not attempt to contact the source agency of a security-related CLASS
hit directly for information in an attempt to clear a hit and avoid sending an
SAO. Such actions could result in a Visa Lookout Accountability (VLA)
violation.


9 FAM Appendix G, 501.3 Special Clearance Types
(SBU)
(CT:VISA-1430;     05-24-2010)
(SBU) In general, SAO request types are as follows:
   (1)   (SBU)
         issues related to the illegal transfer of technology and/or
         proliferation of sensitive technologies. Once a Mantis SAO request
         is sent, you will be locked out of processing the case until the
         Department completes its review;
   (2)   (SBU)
         applicant who is eligible for an A or G visa. Once a Bear SAO
         request is sent, you will be locked out of processing the case until
         the Department completes its review;
   (3)   (SBU)
         applicants who are not subject to the Mantis or Bear requirements,
         but who have a CLASS hit that requires a request for an SAO or
         who otherwise might be inadmissible because of information
         available to you. Once a Visas Donkey SAO request is sent, you will
         be locked out of processing the case until the Department
         completes its review;
   (4)   (SBU)
         refugees. A Merlin 92 is a reques
         following-to-join asylees (Visas 92). Once a Merlin or Merlin 92
         SAO request is sent, you will be locked out of processing the case
         until the Department completes its review;
   (5)   (SBU) A Visas Condor is a request for a name check for aliens of
         certain nationalities (see 9 FAM Appendix A, 600 (classified) for
         details). Once a Condor SAO request is sent, you will be locked out
                                                   9 FAM Appendix G 500 Page 3 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 4 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
          U.S. Department of State Foreign Affairs Manual Volume 9     Visas

        of processing the case until the Department completes its review;
  (6)   (SBU) A Visas Horse SAO is an arrival notice for diplomatic visa
        holders of certain nationalities, and is sent at the time of visa
        issuance;
  (7)   (SBU) A Visas Pegasus is sent for officials of the Commonwealth of
        Independent States (CIS) from posts within the CIS who are the
        subjects of DPT-00 hits and are traveling to pre-ministerial,
        ministerial, pre-summit, summit, or White House meetings.
        Pegasus SAO requests are sent at the time of visa issuance; and
  (8)   (SBU) A Visas Eagle is a travel notification and is governed by an
                  ionality. Eagle travel notifications are sent at the time of
        visa issuance.
NOTE: (SBU) Visas Hawks have been replaced by Integrated Automated
Fingerprint Identification System (IAFIS).


9 FAM Appendix G, 501.4 Which Special Clearance
Request Should I Send? (SBU)
(CT:VISA-1409;    03-25-2010)
(SBU) You should submit only one SAO per visa application. Do not/not
                                   -                   -
appears that an applicant may be subject to multiple SAO categories, you
should use the following guidance to determine which type of SAO to send:
  (1)   (SBU) First Tier: Visas Mantis:
        (SBU) If a visa applicant appears to require a Visas Mantis SAO,
        you must use the Mantis SAO format. This category receives the

        other SAO categories. Even if an applicant has CLASS hits that

        the applicant is otherwise subject to another SAO category, the
        Visas Mantis SAO will address such hits/requirements (see 9 FAM
        Appendix G, 502);
  (2)   (SBU) Second Tier: Visas Donkey, Bear, Merlin/Merlin 92:
        (SBU) You must submit Visas Donkey, Bear, and Merlin SAOs as
        required, either by virtue of CLASS hits or other special processing
        requirements. The necessity to submit a Donkey or Bear SAO will
                                                      d for a Donkey or Bear
        will serve to clear an underlying Condor requirement. A Donkey or
        Bear requirement will not, however, trump Mantis (see 9 FAM
                                                   9 FAM Appendix G 500 Page 4 of 29

                 SENSITIVE BUT UNCLASSIFIED (SBU)
    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 5 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

        Appendix G, 503);
  (3)   (SBU) Third Tier: Visas Condor:
        (SBU) Condor clearances are required for a select group of aliens.
        If an alien that would otherwise be subject to a Condor SAO has
        security-related CLASS hits or is otherwise subject to a higher tier
        SAO, you must submit the higher tier SAO instead of the Condor. A


        another SAO category, but falls within the Condor criteria, you must
        submit the Condor, and wait for a response before processing
        further (see 9 FAM Appendix G, 504); and
  (4)   (SBU) Fourth Tier: Visas Pegasus, Visas Horse, and Visas Eagle:
        (SBU) Visas Pegasus, Visas Horse, and Visas Eagle are not really
        requests for a Department opinion, but are instead travel
        notifications. The Horse and Pegasus requirement pertain to a very
        limited number of aliens from the Former Soviet Union/
        Commonwealth of Independent States. For nationals of these
        countries, refer to the reciprocity schedule (see 9 FAM Appendix G,
        505). The Visas Eagle requirement pertains to a very limited
        number of aliens from Cuba, China, Iran, Russia, and Vietnam.


9 FAM Appendix G, 501.5 How Do I Process
Necessary Clearance Requests? (SBU)
(CT:VISA-1444;     06-18-2010)
a. (SBU) You must generate clearance requests from within the NIV, IV, and
   Immigrant Visas/Diversity Visas (IV/DV) systems (SAO-IP).
b. (SBU) Merlin and Merlin 92 SAO requests are unique because they do not
   pertain to a visa application. If you are unable to create a Merlin/Merlin
   92 SAO in either the NIV or IV system, you may use the INK system to
   create and transmit the SAO.
c. (SBU)

  that no CLASS hits were returned, or that you have reviewed any such
  hits and determined that none were applicable to the subject of the SAO.
  If CLASS hits require Department review (see 9 FAM Appendix G, 501.1),
  the request must be a Bear, Donkey, Mantis, or Merlin. Condor requests
  cannot contain hits that require Department review.
  NOTE: (SBU) The Department cannot accept requests that indicate that
                                                   9 FAM Appendix G 500 Page 5 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 6 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

  CLASS hits were unknown. Requests with such an entry will be returned.
d. (SBU) You must suspend applications requiring a clearance request INA
   221(g) (8 U.S.C. 1201(g)) pending the completion of the processing.


9 FAM Appendix G, 501.6 How Long Are Special
Clearances Valid? (SBU)
(CT:VISA-1430;     05-24-2010)
(SBU) Special clearance validity is defined as the period of time from the
date of the Department's response (as shown in the Consular Consolidated
Database (CCD) record) to the ending date of the clearance validity. During
the validity period, you can issue a qualified applicant one or more visas
without having to submit another SAO request. Special clearances are valid
for the following periods:
  (1)   (SBU) Bear - 4 months;
  (2)   (SBU) Condor - 4 months;
  (3)   (SBU) Donkey - 4 months;
  (4)   (SBU) Mantis - 4 months or more (see 9 FAM Appendix G, 502.5);
        and
  (5)   (SBU) Merlin - 12 months.


9 FAM Appendix G, 501.7 Mantis Clearance
Validities
(CT:VISA-1444;     06-18-2010)
a. (SBU) The following validities must be followed:
  (1)   (SBU) 4 months for nationals of state sponsors of terrorism (all visa
        categories);
  (2)   (SBU) 12 months for B-1, B-2, A, and G visas;
  (3)   (SBU) 24 months for E, H, J, L, O, and P visas; and
  (4)   (SBU) 48 months for F and M visas.
b. (SBU) Except nationals of China and state sponsors of terrorism (Cuba,
   Iran, Sudan, and Syria), applicants who have received a Mantis clearance
   may be issued a visa up to the maximum of the clearance validity periods
   listed above provided the applicant's reciprocity schedule allows it.
c. (SBU) Chinese nationals who have received a Mantis clearance may be
   issued 12 months multiple entry visas, provided the reciprocity schedule
                                                   9 FAM Appendix G 500 Page 6 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 7 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

   allows this validity period.
d. (SBU) Again, these limits are permissive and the Department may
   request that post further limit a visa. Post also may limit visa validity
   where deemed appropriate.
e. (SBU) Nationals of state sponsors of terrorism (Cuba, Iran, Sudan, and
   Syria) who have received a Mantis clearance may be issued visas valid for
   only one entry/3 months even if the reciprocity schedule allows for more.
f. (SBU) Remember these three points about Mantis clearance validities:
   (1)   (SBU) A No Objection clearance is valid for 120 days for visa
         issuance purposes. If the visa is not issued within 120 days, or if
         the visa was issued but subject did not travel and is now applying
         to travel for a different purpose, a new Mantis SAO request must be
         submitted;
   (2)   (SBU) Once a visa is issued, the clearance is valid for 4 months or
         more, as described above. Subsequent visas may be issued with
         postcheck Mantis SAOs during the validity of the clearance. Please
         note that T4 nationals do not qualify for postcheck issuance; and
   (3)   (SBU) Please remember cases cleared through Mantis SAOs do not
         follow the normal visa reciprocity.


9 FAM Appendix G, 501.8 Can Security Advisory
Opinion (SAO) Clearances Be Transferred or Re-
used? (SBU)
(CT:VISA-1409;     03-25-2010)
a. (SBU) An applicant may apply for another visa within the clearance
   validity period or receive a visa at another post based on the response to
   the original SAO request under the following circumstances:
   (1)   (SBU) No biographic information has changed since the original
         submission;
   (2)   (SBU) The CLASS namecheck performed at the time of the new
         application shows no new CLASS hits not submitted in the original
         SAO request which require Departmental review;
   (3)   (SBU) There is no new information available which is relevant to the
         SAO request and was not included in the original SAO request; or
   (4)   (SBU) The date of the new visa application is within the validity
         period of the previous SAO response.

                                                   9 FAM Appendix G 500 Page 7 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 8 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

b. (SBU) If you wish to issue a visa based on a clearance request sent by
   another post, you must review the original case record from the CCD NIV
   Applicant Full Report. You must carefully review the bio data, the
   available CLASS hits, and all the data in Namecheck Detail. If you

  and any other information relevant to the decision not to send a new
  SAO. The visa must be annotated:                                  ,
  the date of the original visa office (VO) response.
c. (SBU) If all of the conditions in paragraph a above are not met, you must


  should come before all other information entered into the Additional
  Information (Optional) field.


9 FAM Appendix G, 501.9 How Long Does a
Clearance Request Take? Can it be Expedited?
What About Clearance Requests That Are More
Than 1 Year Old? (SBU)

9 FAM Appendix G, 501.9-1 How Long Does a Clearance
Request Take? (SBU)
(CT:VISA-1444;     06-18-2010)
a. (SBU) The Coordination Division of the Visa Office (CA/VO/L/C) makes
   every attempt to respond promptly to SAO requests. Given the
   requirements for clearances by multiple agencies and offices, and the
   volume of SAOs being requested, it may take some time to receive
   responses. The VO/L/C Intranet page on CA s Web site lists the current
   average processing times.
b. (SBU) We are committed to maintaining efficient processing of SAOs. As
   always, however, our highest priority remains ensuring border security,
   and there will always be some cases that take much longer than the
   average times on CA s Web site. CA/VO/L/C will work with posts to keep
   them informed as to the status of any delayed SAO responses.
c. (SBU) For non-expedited SAOs, we ask that you not contact CA/VO/L/C
   until the SAO is 50 percent older than the processing times listed on CA s
   Web site. Once the case reaches the 50 percent older mark, you may
   contact the relevant CA/VO/L/C analyst to inquire as to the status, using
   the contact information in Who's Who in VO/L/C. Do not, however, give
   CA/VO/L/C contact information to anyone outside the Department. When
                                                   9 FAM Appendix G 500 Page 8 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
    Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24               Page 9 of 29
                  SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

   contacting CA/VO/L/C, make sure to include the applicant's passport
   number (in addition to the name/DOB), as that makes it easier for
   CA/VO/L/C to locate the case in the computer system. Because of the
   sensitivity of SAOs, only an officer may contact CA/VO/L/C on specific
   SAO cases. It is not appropriate for Locally Engaged Staff to do so.
d. (SBU) You must ensure that SAO requests are sent to Washington, DC as
   soon as possible after the interview, ideally within 24 hours, unless more
   time is needed to gather information relevant to the request. Do not hold
   SAO requests until an arbitrary date before an applicant's scheduled
   departure. Prompt transmission of SAO requests gives Washington, DC
   agencies the maximum amount of processing time and reduces the risk of
   issuance delays.

9 FAM Appendix G, 501.9-2 Can a Clearance Request be
Expedited? (SBU)
(CT:VISA-1409;     03-25-2010)
a. (SBU) If you need expedited processing of an SAO, you must explain the
   urgency of the case and provide a tentative itinerary. Urgent cases
   typically involve medical emergencies, humanitarian concerns, or other
   significant U.S. Government interest in the traveler's early arrival in the
   United States. CA/VO/L/C gives great weight to the judgment of the
   consular officer at post, but also must balance the number of expedite
   requests at a given time. However, if you believe the case to be urgent,
   clearly explain the circumstances and request that the SAO be expedited.
   Before requesting an expedite, you may wish to first wait and see if the
   SAO clears within a week, unless the case is more urgent than that.
b. (SBU) Note that the Department's ability to expedite clearance requests
   is limited because of the need to coordinate clearances with other
   agencies. Requests for expedited handling are to be made by submitting
   an SAO and immediately sending an e-mail to the appropriate analyst in
   CA/VO/L/C, using the contact information in Who's Who in VO/L/C.
   Include in your e-mail request an explanation of the urgency of the case
   and the applicant's intended itinerary. In the SAO request itself, enter
   "EXPEDITE REQUESTED" followed by the brief explanation in the
   "Additional Information (Optional)" field. Make sure to include this text
   before all other information entered into the Additional Information
   (Optional) field. Also, accurately complete the "Estimated Arrival Date"
   field of the SAO.
c. (SBU) If the case was not urgent when the SAO request was sent, but
   subsequently becomes urgent, simply send an e-mail to the relevant
                                                   9 FAM Appendix G 500 Page 9 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 10 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

  analyst in CA/VO/L/C requesting an expedite and including a clear
  justification and the applicant's intended itinerary. When contacting
  CA/VO/L/C, make sure to include the applicant's passport number.

9 FAM Appendix G, 501.9-3 What if the Case is More Than
1 Year Old? (SBU)
(CT:VISA-1611;     12-28-2010)
a. (SBU) In order to eliminate inactive and abandoned SAO cases and focus
   on travelers with active travel plans, the Department administratively
   closes all unanswered Donkey, Bear, Condor, and Mantis SAO requests
   that are more than 1 year old. The SAO response to post will state that
   post must submit a new SAO if the applicant is still interested in
   travelling.
b. (SBU) Because the Department closes these SAO requests in the Visa
   Opinion Information Service, the computer system the Department uses
   to process SAOs, no action is required by you to close these cases. You
   do not need to contact applicants to inform them that their cases are
   closed.
c. (SBU) Pursuant to 9 FAM 41.121 N2.4, applicants who wish to keep their
   NIV applications active are not to be re-charged the machine readable
   visa (MRV) fee. Pursuant to 9 FAM 42.71 N2.1-2 (5), applicants who wish
   to keep their IV applications active are not to be re-charged the IV
   processing fee.


9 FAM APPENDIX G, 502 FIRST TIER: "VISAS
                        ESTS (SBU)

9 FAM Appendix G, 502.1 General Information
(SBU)
(CT:VISA-936;    03-18-2008)
a. (SBU)
   opinion (SAO) regarding the potential illegal transfer of technology. A
   Mantis request trumps all other types of SAO. When required, a single
   Mantis request should be submitted instead of a Donkey, Bear, Condor,
   etc. Once a Mantis request is sent, you must suspend all action on the
   case until a reply is received.
b. (SBU) Most special clearance procedures are triggered by clear and
                                                  9 FAM Appendix G 500 Page 10 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 11 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas


   birth, residence, or CLASS name check results. However, the Visas
   Mantis clearance procedure was developed as a result of United States
   Government concerns that U.S.-produced goods and information are
   vulnerable to theft. In cases of illegal technology transfer, the
   Department must rely, to a great extent, on the observations and
   judgment of consular officers in the field. You should attempt to identify
   applicants (of any nationality) whose cases fall under the purview of INA
   212(a)(3)(A)(i)(II) (8 U.S.C. 1182(a)(3)(A)(i)(II)) of the Immigration and
   Nationality Act (INA) and involve fields on the Technology Alert List (TAL).
   The primary program security objectives are to:
   (1)   (SBU) Prevent the proliferation of weapons of mass destruction and
         missile delivery systems;
   (2)   (SBU) Restrain the development of destabilizing conventional
         military capabilities in certain regions of the world;
   (3)   (SBU) Prevent the transfer of arms and sensitive dual-use items to
         terrorists and states that sponsor terrorism; and
   (4)   (SBU) Maintain United States advantages in certain militarily critical
         technologies.


9 FAM Appendix G, 502.2 Cases Requiring a Mantis
Clearance (SBU)
(CT:VISA-1430;     05-24-2010)
a. (SBU) State Sponsors of Terrorism - A Visas Mantis SAO is mandatory for
   all applicants bearing passports of, or employed by, states currently
   designated as State Sponsors of Terrorism (Cuba, Iran, Sudan, and Syria)
   (TAL tab C), and highly recommended for countries of proliferation
   concern (TAL tab D) who seek to engage in, or have engaged in, activities
   involving in one of the critical fields (TAL). This requirement includes
   applicants born in, but resident outside, a State Sponsor of Terrorism or a
   country of proliferation concern, who are judged to owe allegiance to their
   country of birth.
b. (SBU) Restrictions on the export of controlled goods and technologies
   apply to nationals of all countries. Applicants from any country coming to

   ineligible for a visa under INA 212(a)(3)(A)(i)(II) (8 U.S.C.
   1182(a)(3)(A)(i)(II)) if the proposed activity is subject to U.S. export
   control regulations. You should pay particular attention to visa
   applications from nationals of State Sponsors of Terrorism or Countries of
                                                  9 FAM Appendix G 500 Page 11 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 12 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

   Proliferation Concern seeking to engage in, or having backgrounds in, a
   field listed on the TAL. In determining whether an applicant merits a
   Visas Mantis SAO, you should be cognizant of any travel to these

   Other cases requiring thorough review include:
   (1)   (SBU) Applicants affiliated with entities identified in Supplement 4
         to Part 744 of the Export Administration Regulations (EAR); and
   (2)   (SBU) Applicants you have reason to believe are seeking to illegally
         transfer controlled United States equipment or technology.
c. (SBU) U.S. Government-sponsored programs - Applicants of a state
   sponsor of terrorism or country of proliferation concern coming to the
   United States at the invitation of a U.S. Government entity, including
   those being fully escorted, to engage in activity involving any of the
   sensitive technologies on the TAL.
d. (SBU) Information in the public domain (e.g., widely available to the
   public through posting on the Internet or other forms of public
   dissemination) and information presented in an academic course through
   the university undergraduate level is not considered controlled for U.S.
   export control purposes. Similarly, software (except encryption software)
   that is publicly available generally is not subject to U.S. export controls.
                     -                           the EAR may apply in order to
   prevent U.S. technology or information from contributing to proliferation
   programs of concern or to state or nonstate sponsors of terrorism. These
          -
   national could have access to experts engaged in controlled activities or
   possessing controlled knowledge.
e. (SBU) Please bear in mind that while the TAL is a valuable tool for
   recognizing possible illegal technology transfer and proliferation, it is not
   the only mechanism for identifying such cases. There may be times when
   the consular officer suspects, for whatever reason, that an applicant may
   be ineligible for a visa under INA 212(a)(3)(A) (8 U.S.C. 1182(a)(3)(A))
   despite the absence of the applicant's profession or area of study on the
   TAL. Such cases can and should be submitted as a Visas Mantis SAO.
   When in doubt, send in a Visas Mantis SAO. Consular officers may find it
   useful to consult with other U.S. Government personnel in determining
   whether the purpose of travel is connected with TAL critical fields.
   Nonetheless, consular officers are the final arbiter and should not be
   dissuaded from transmitting a Visas Mantis SAO.


9 FAM Appendix G, 502.3 The Technology Alert List
                                                  9 FAM Appendix G 500 Page 12 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 13 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

(TAL) (SBU)
(CT:VISA-1387;     12-17-2009)
a. (SBU) We rely to a great extent on your observations and judgment to
   identify cases of illegal technology transfer that fall within the purview of
   INA 212(a)(3)(A)(i)(II) (8 U.S.C. 1182(a)(3)(A)(i)(II)). The Technology
   Alert List (TAL) has been compiled to assist you in this difficult and vitally
   important task. The TAL is in alphabetical order, and a master index of
   key words has been created to make it easier to use. The TAL must
   not/not reach the public domain. It is sensitive information. It must
   not/not be posted on the Internet, provided to non-U.S. Government
   personnel, discussed with them or shown to visa applicants, briefed to the
   press, or otherwise reach the public domain.
b. (SBU) The TAL is generated by the Bureau of International Security and
   Nonproliferation (ISN) and is distributed to posts by cable and can be
   found in 9 FAM Appendix A, 800 (classified) on the CA classified Intranet
   Web site, as well as on the CA Web site.


9 FAM Appendix G, 502.4 Preparing the Mantis
Clearance Request: Important Points (SBU)
(CT:VISA-1387;     12-17-2009)
a. (SBU) A Visas Mantis SAO request is a pre-issuance clearance procedure.
   Once you submit a Visas Mantis SAO request, you will be locked out of
   processing the case until the Department completes its review.
b. (SBU) Submit a Visas Mantis SAO request for any application that raises
   concerns about possible illegal technology transfer. You must submit a
   Mantis request for applicants whom you know or have reason to believe
   may either:
   (1)   (SBU) Personally be subject to sanctions denying them United
         States export privileges; or
   (2)   (SBU) Be an owner or responsible executive of a sanctioned firm.
c. (SBU) Lists of sanctioned persons or firms compiled by various agencies
   are available on the Mantis Web page on the CA Intranet. One
   convenient access point for useful information is the Department of
   Commerce (DOC) Compliance and Enforcement Web site. This Web site
   explains the role of the DOC in enforcing U.S. exports controls on dual-
   use items and provides a link to their list of Denied Parties. The same
                                                          Office of Foreign
   Assets Control (OFAC) list of Specially Designated Nationals and the State
                                                  9 FAM Appendix G 500 Page 13 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 14 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas


  useful information from both the commercial officer at post and the post
  Blue Lantern contact, who is responsible for military export end-use
  checks and maintains a close relationship with the State Department
  Office of Defense Trade Controls Compliance.
d. (SBU) Seek detailed information from applicants in Visas Mantis cases.
   SAO requests that contain vague or incomplete information will result in
   processing delays. Information U.S. Government agencies need to
   process a Visas Mantis SAO includes:
  (1)   (SBU)
  (2)   (SBU)
        (including address, telephone number, name of supervisor);
  (3)   (SBU)

  (4)   (SBU) The street address(es), Web site address(es), phone
        numbers of, and points of contact at, the organizations, institutes,
        and/or companies the applicant intends to visit in the United States
        (applicants going to academic institutions or conferences should
        give the name of an academic contact, not the name of the foreign
        student advisor);
  (5)   (SBU) The specifics of the
        doctoral, post-doctoral, or scholarly) academic, business, research,
        or study interests in the United States;
  (6)   (SBU)
        education;
  (7)   (SBU) Export license number (or, if pending, an export license
        application number) covering the activity in the United States (if
        relevant and available);
  (8)   (SBU) Possible access to U.S. military of other sensitive U.S.
        Government projects, research, or technology;
  (9)   (SBU) Information regarding whether the applicant intends to
        return to work in a country that sponsors terrorism or is of
        proliferation concern;
  (10) (SBU)
       sanctions (if relevant); and
  (11) (SBU) How and where the applicant plans to use the goods or
       knowledge acquired.
e. (SBU) You should require applicants subject to the Visas Mantis SAO
                                                  9 FAM Appendix G 500 Page 14 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 15 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

   process to provide supporting documentation to include, for example:
   (1)   (SBU) Complete résumé (and, if accompanying the applicant, the
                 résumé);
   (2)   (SBU) Complete list of publications of the applicant (and, if

   (3)   (SBU)
         residence;
   (4)   (SBU) Detailed descript
         work in the United States;
   (5)   (SBU) Letters of invitation from the United States sponsor;
   (6)   (SBU) Letters of recommendation from a United States source or
         from abroad;
   (7)   (SBU) Letters of support from the financial sponsor; and
   (8)   (SBU) Detailed itinerary for B1/B2 applicants.
f. (SBU) Information enumerated above helps Washington, DC reviewers

   documents should be clearly and fully summarized in the Visas Mantis
   SAO request and scanned into the Consolidated Consular Database (CCD)
   and attached electronically to the visa application. Posts do not need to

   If the publications are scanned, scan only the first page of each article.
   Posts must note the documents scanned into the CCD in the Visas Mantis
   SAO request.
g. (SBU) If an applicant subject to Mantis clearance also has CLASS hits,
   you must send the SAO request as a VISAS MANTIS and include the hit
   information in the proper section of the template.
h. (SBU) In general it is not necessary to annotate visas cleared through
   Mantis. However, the Department may request on a case-by-case basis
   that visas be annotated with specific details which will be provided in the
   SAO response.
i. (SBU) In all cases in which one or more visas are issued during the
   clearance validity period, you must annotate the NIV record so that the
   CCD reflects the date of clearance with the comment:

   visa within the clearance validity period at a different post from the
   original application, verification of the original authorization can be found
   in the CCD.

                                                  9 FAM Appendix G 500 Page 15 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 16 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

9 FAM Appendix G, 502.5 Visa Validity Periods
(SBU)
(CT:VISA-1643;     05-02-2011)
(SBU) The following validity periods apply to visas issued to applicants who
have been cleared through the Mantis process, unless the reciprocity
schedule only permits a shorter period. In all cases, visas for Mantis-cleared
applicants must be issued the shorter validity period.
   (1)   (SBU) Nationals of State Sponsors of Terrorism (Cuba, Iran,
         Sudan, Syria):
         (SBU) Visa for one-entry/3 months even if the reciprocity schedule
         allows for more
   (2)   (SBU) Nationals of China:
         (SBU) Visa for multiple entry/12 months (if allowed by reciprocity
         schedule)
   (3)   (SBU) All other nationals, including Russia:
         (SBU) 48 months for F and M visas, provided the purpose of travel
         and access to technology has not changed
         (SBU) 24 months for E, H, J, L, O, and P visas, provided the
         purpose of travel and access to technology has not changed
         (SBU) 12 months for B-1/B-2, A, and G visas, provided the purpose
         of travel and access to technology has not changed


9 FAM Appendix G, 502.6 Visa Validity Periods not
Mandatory (SBU)
(CT:VISA-1444;     06-18-2010)
(SBU) The validity periods are permissive but not mandatory. Applicants
who have received a Mantis clearance may be issued a visa up to the
maximum of the new clearance validity periods listed above provided the
applicant's reciprocity schedule allows it. For example, an F-1 applicant
whose reciprocity schedule allows only a maximum of 6 months for an F-1
visa can be issued an F-1 visa valid only up to 6 months. A F-1 applicant
whose reciprocity schedule allows 60 months for F-1 visas, may be issued an
F-1 visa only up to the maximum of 48 months or the length of the proposed
program of study, whichever is shorter. Furthermore, the Department may
request that post limit a visa. If appropriate, you may also limit the visa
validity.

                                                  9 FAM Appendix G 500 Page 16 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 17 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

9 FAM Appendix G, 502.7 Postcheck Mantis (SBU)
(CT:VISA-1387;     12-17-2009)
a. (SBU) If an alien previously cleared through the Mantis procedure applies

   SAO can be submitted in lieu of another regular Mantis. To do this,
                                              he SAO window in NIV. A

   included in a regular Mantis SAO.
b. (SBU) An applicant qualifies for a Postcheck Mantis SAO if and only if all
   of the following three conditions are met:
   (1)   (SBU) The original Mantis clearance is still valid (to calculate, use
         the date of the original clearance message, not the date of visa
         issuance);
   (2)   (SBU) The original visa was issued within 90 days of clearance
         receipt (regardless of whether the applicant traveled on that visa);
         and
   (3)   (SBU) The current purpose of travel is the same as that for which
         the original clearance was received.
c. (SBU) If you determine that the applicant needs to have further Mantis
   screening, for example by having changed programs in the United States,
   then you should submit a new Mantis SAO as the previous clearance
   validity period will no longer be in effect.


9 FAM APPENDIX G, 503 SECOND TIER:
SECURITY ADVISORY OPINIONS (SAO):
VISAS DONKEY, VISAS BEAR, AND VISAS
MERLIN (SBU)

9 FAM Appendix G, 503.1 What Is a Visas Donkey?
(SBU)
(CT:VISA-1233;     06-23-2009)
a. (SBU)
   application. You must submit a Visas Donkey for certain categories of
   applicants (see 9 FAM Appendix G, 503.2). There is no alternative to
   submitting an SAO request when one is required. You should not/not

                                                  9 FAM Appendix G 500 Page 17 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 18 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

   attempt to contact the source agency of a security-related CLASS hit
   directly for information in an attempt to clear a hit and avoid sending an
   SAO. Such actions could result in a Visa Lookout Accountability (VLA)
   violation. You must submit Visas Donkey SAO requests via SAO-IP. You
   must conduct a check of the applicant's name through CLASS prior to
   requesting a security advisory opinion (SAO), and it is imperative that
   you include the results of the CLASS check in the SAO. (See 9 FAM
   Appendix G, 501.1 for guidance on what to send from the CLASS check.)
   Washington, DC agency name checks are conducted on every case
   submitted for a security advisory opinion, but CLASS is not checked again
   by Washington, DC agencies or CA/VO/L/C.
b. (SBU) Once an SAO request is submitted, you will be locked out of
   processing the case until the Department completes its review. When the
   Department renders an opinion making an alien excludable under a
   security ground of ineligibility (INA 212(a)(3)) (8 U.S.C. 1182(a)(3)), that
   opinion remains in effect unless the Department reverses it. If you
   believe that action contrary to the Department's SAO should be taken,
   you must resubmit the case to the Department with an explanation of the
   proposed action (see 22 CFR 41.121(d)). Rulings of the Department
   concerning an interpretation of law, as distinguished from an application
   of the law to the facts, shall be binding upon consular officers.


9 FAM Appendix G, 503.2 Which Cases Require a
Visas Donkey? (SBU)
(CT:VISA-1149;     02-10-2009)
(SBU) The Department requires a Visas Donkey in the case of any applicant,
16 years of age or older, who is described in one of the categories listed
below (for applicants under the age of 16, you may use your discretion,
                                                 date the hit was entered into
CLASS):
   (1)   (SBU) Individual Cases Identified by the Department: Visas
         Donkey SAOs must be submitted for the following individuals:
         (a)   (SBU) An applicant with a security-related CLASS hit except
               when the "VISAS PEGASUS" name check procedure applies.
               Such hits include: 212(f), 306, 3A1, 3A3, 3B, 3C, 3D, 3E1,
               3E2, 3E3, 3F, VGTO, T89, 00, or any of these hits preceded

         (b)   (SBU) An applicant on whom the post received an unfavorable
               SAO previously rendered by the Department which has not
               been reversed; or
                                                  9 FAM Appendix G 500 Page 18 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 19 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

        (c)    (SBU) An applicant who is the subject of a general or specific
               instruction from the Department requiring a SAO;
  (2)   (SBU) Nationals of Certain Countries: A Visas Donkey is required
        for all nationals, or specified categories of nationals, of designated
        countries which are not recognized by the United States, with which
        the United States has no diplomatic relations, or on which the
        Department has imposed an SAO requirement for political, security,
        or foreign policy reasons. Cases are subject to this requirement
        only when indicated in the "Special Clearance and Issuance
        Procedures" of the Reciprocity Schedules for the applicant's country
        of nationality; or
  (3)   (SBU) Third-country nationals working for the Government of Iraq
        or Government of Libya. You should refer to the Special Clearance
        and Issuance Procedures for Libya or Iraq for SAO requirements on
        these third-country nationals.


9 FAM Appendix G, 503.3 Which Other Cases must
a Consular Officer Submit as a Visas Donkey? (SBU)
(CT:VISA-1643;     05-02-2011)
(SBU) You must submit a Visas Donkey request for an SAO for any applicant
who you know, or have reason to believe, is ineligible, or who was previously
found ineligible, for a visa under one of the following security grounds:
  (1)   (SBU) All applicants possibly subject to INA 212(a)(3)(A) (8 U.S.C.
        1182(a)(3)(A)) for activities related to espionage, sabotage, the
        prohibited export of sensitive technology, other illegal activities, or
        efforts to overthrow the U.S. Government (see 9 FAM 40.31 Notes);
  (2)   (SBU) All applicants who are or who may possibly be subject to INA
        212(a)(3)(B) (8 U.S.C. 1182(a)(3)(B)) for engaging in or planning
        to engage in terrorist activities. Aliens who are officers, officials,
        representatives, or spokesmen of the Palestine Liberation
        Organization (PLO) are deemed to be engaged in terrorist activity
        (see 9 FAM 40.32 Notes);
        NOTE: (SBU) You should use the "VISAS VIPER" procedure to
        report to the Department any alien, excluding legal permanent
        residents, who is not a visa applicant, but whose activities may fall
        within the purview of INA 212(a)(3)(B) (8 U.S.C. 1182(a)(3)(B))
        (see 9 FAM 40.37 Notes);
  (3)   (SBU) All applicants possibly ineligible under INA 212(a)(3)(C) (8
        U.S.C. 1182(a)(3)(C)) for foreign policy reasons (see 9 FAM 40.33
                                                  9 FAM Appendix G 500 Page 19 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 20 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                  (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9     Visas

        Notes);
  (4)   (SBU) All applicants possibly excludable under INA 212(a)(3)(E) (8
        U.S.C. 1182(a)(3)(E)) for having engaged in Nazi persecution,
        genocide, torture, or extra-judicial killings (see 9 FAM 40.35(a)
        Notes and 9 FAM 40.35(b) Notes);
  (5)   (SBU) All applicants possibly excludable under INA 212(a)(3)(F) (8
        U.S.C. 1182(a)(3)(F)) for association with terrorist organizations;
        or
  (6)   (SBU) Any applicant about whom the consular officer has security-
        related concerns, even if he
        above categories. This includes cases where the consular officer
        plans to refuse the applicant under INA 214(b), (8 U.S.C. 1184(b))
        but the officer also has reason to suspect the applicant might in any
        way be involved in terrorist behavior or activity. Please note in the
        comments section of the SAO the reasons for your concern.


9 FAM Appendix G, 503.4 What Is a VISAS BEAR?
(SBU)
(CT:VISA-1409;     03-25-2010)
a. (SBU) A Visas Bear is a security advisory opinion (SAO) request on an
   applicant, 16 years of age or older, who is coming for official purposes
   ("A", "C-3", and "G" nonimmigrants), not an official coming for personal
   reasons; and who is described in one of the categories listed below (for
   applicants under the age of 16, you may use your discretion, taking into

  CLASS):
  (1)   (SBU) Individual Cases Identified by the Department: Visas Bear
        SAOs must be submitted for the following individuals:
        (a)    (SBU) An applicant with a security-related CLASS hit such as:
               212(f), 306, 3A1, 3A3, 3B, 3C, 3D, 3E1, 3E2, 3E3, 3F, VGTO,
               T89, 00,
               indicator;
        (b)    (SBU) An applicant on whom the post received an unfavorable
               SAO previously rendered by the Department which has not
               been reversed; or
        (c)    (SBU) An applicant who is the subject of a general or specific
               instruction from the Department requiring a SAO;
  (2)   (SBU) Nationals of Certain Countries: A Visas Bear is required for
                                                   9 FAM Appendix G 500 Page 20 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 21 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

         all nationals, or specified categories of nationals, of designated
         countries which are not recognized by the United States, with which
         the United States has no diplomatic relations, or on which the
         Department has imposed an SAO requirement for political, security,
         or foreign policy reasons. Cases are subject to this requirement
         only when indicated in the "Special Clearance and Issuance
         Procedures" of the Reciprocity Schedules for the applicant's country
         of nationality; or
   (3)   (SBU) Third-country nationals working for the Government of Iraq
         or Government of Libya. You should refer to the Special Clearance
         and Issuance Procedures for Libya or Iraq for SAO requirements on
         these third-country nationals. Once a "VISAS BEAR" SAO has been
         requested, you will be locked out of processing the case until the
         Department completes its review.
b. (SBU) The SAO request must contain a complete citation of any relevant
   CLASS entry as well as any derogatory information available to you. You
   must also provide a complete itinerary, including port of entry (POE),
   date of arrival, flight or other travel data, and information on any planned
   travel while in the United States.
c. (SBU) "A", "C-3", and "G" visa recipients from certain countries are
   subject to POE restrictions. When applicable, such restrictions are noted
   in the "Special Clearance and Issuance Procedures" for the applicant's
   country of nationality.
d. (SBU) Visas Bear SAOs are generally prioritized among clearing agencies,
   but receive the same level of review as Donkeys. Aliens applying for A,
   C-3, or G visas that have CLASS hits or circumstances that would
   normally require a Visas Donkey may be submitted instead of a Visas
   Bear SAO so that the case will be prioritized.


9 FAM Appendix G, 503.5 What Is a VISAS
MERLIN/MERLIN 92? (SBU)
(CT:VISA-1643;     05-02-2011)
a. (SBU) A Visas Merlin is a security advisory opinion (SAO) request for
   refugees. A Merlin 92 is a security advisory opinion (SAO) request for
   following-to-join asylees. Once a Merlin or Merlin 92 request is sent, you
   will be locked out of processing the case until the Department completes
   its review.
b. (SBU) SAOs must be sent for applicants 16 years of age or older, who can
   be described in one of the categories listed below (for applicants under
                                                  9 FAM Appendix G 500 Page 21 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 22 of 29
              SENSITIVE BUT UNCLASSIFIED (SBU)
              (Deliberative process; law enforcement information)
        U.S. Department of State Foreign Affairs Manual Volume 9    Visas

the age of 16, you may use your discretion, taking into account the
                and the date the hit was entered into CLASS):
(1)   (SBU) Individual Cases Identified by the Department: Visas
      Merlin/Merlin 92 SAOs must be submitted for the following
      individuals:
      (a)   (SBU) An applicant with a security-related CLASS hit such as:
            212(f), 306, 3A1, 3A3, 3B, 3C, 3D, 3E1, 3E2, 3E3, 3F, VGTO,
            T89, 00,
            indicator;
      (b)   (SBU) An applicant on whom the post received an unfavorable
            SAO previously rendered by the Department which has not
            been reversed; or
      (c)   (SBU) An applicant who is the subject of a general or specific
            instruction from the Department requiring a SAO;
(2)   (SBU) Nationals of Certain Countries: A Visas Merlin/Merlin 92 is
      required for all nationals, or specified categories of nationals, of
      designated countries which are not recognized by the United States,
      with which the United States has no diplomatic relations, or on
      which the Department has imposed an SAO requirement for
      political, security, or foreign policy reasons. Cases are subject to
      this requirement only when indicated in the "Special Clearance and
      Issuance Procedures" of the Reciprocity Schedules for the
      applicant's country of nationality or as listed in 9 FAM Appendix A,
      800 (classified); or
(3)   (SBU) Third-country nationals working for the Government of Iraq
      or Government of Libya. You should refer to the Special Clearance
      and Issuance Procedures for Libya or Iraq for SAO requirements on
      these third-country nationals.
NOTE: (SBU) Visas Merlin 92s should be processed the same as Donkey
    IV cases, except that they are used for follow-to-join asylees.
NOTE: (SBU) Unlike Donkeys, Bears, and Condors, Visas Merlins are
    subject to additional SAO requirements regardless of the CLASS
    namecheck response. A detailed description is contained in 9 FAM
    Appendix A, 700 (classified). This document can be accessed from
    the CA classified Intranet site.




              (SBU)
                                               9 FAM Appendix G 500 Page 22 of 29

               SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 23 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

9 FAM Appendix G, 504.1 What Is a Visas Condor?
(SBU)
(CT:VISA-1430;     05-24-2010)
(SBU) A Visas Condor is an SAO request for nationals of certain countries
who meet the criteria (see 9 FAM Appendix A, 600) (classified). You must
submit Visas Condor SAO requests for all applicants who meet these criteria,
unless the applicant is already subject to a Donkey, Bear, or Mantis SAO
requirement. Once a Visas Condor request is submitted, you will be locked
out of processing the case until the Department completes its review.


9 FAM Appendix G, 504.2 Which Cases Require a
Visas Condor Security Advisory Opinion (SAO)?
(SBU)
(CT:VISA-1233;     06-13-2009)
a. (SBU) Visas Condor SAO requests apply only to NIV applicants.
b. (SBU) Certain NIV applicants are subject to additional SAO requirements.
   Detailed descriptions of the applicants and the requirements are
   contained in 9 FAM Appendix A, 600 (classified). If an applicant is
   subject to the Condor requirement and is also subject to a Donkey, Bear,
   or Mantis SAO, then you must submit a Visas Donkey, Bear, or Mantis in
   lieu of a Visas Condor.
c. (SBU) In addition to the requirements in 9 FAM Appendix A, 600
   (classified), a Visas Condor clearance is also required for any NIV
   applicant (both men and women, excluding A and G visa applicants, who
   may be subject to a Visas Bear clearance) who:
   (1)   (SBU) Is not already subject to a higher tier special clearance
         requirement;
   (2)   (SBU) Is 16 years of age or older (no upper age limit); and
   (3)   (SBU) Is from one of these state sponsors of terrorism:
         (a)   (SBU) Cuba;
         (b)   (SBU) Iran;
         (c)   (SBU) Sudan; and
         (d)   (SBU) Syria.
d. (SBU)
   person is a national of that country. If a person is a national of both a
                                                  9 FAM Appendix G 500 Page 23 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 24 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

  state sponsor country and a nonstate sponsor country, the person should
                                state sponsor if you determine that the state
  sponsor nationality is only nominal. Nominal nationality is a
  determination which must be made on the totality of the facts. It would
  normally be someone who does not exercise any of the rights of
  nationality and whose behavior demonstrates that he or she does not in
  fact have the allegiance or loyalty to the state sponsor country normally
  associated with nationality. Evidence of allegiance would normally include
  the possession of a passport of the state-sponsor country; such an

  On the other hand, a dual national applicant who resides in the nonstate
  sponsor country of nationality and who has severed all significant ties to
  the state spo
  state sponsor country. Travel to the state sponsor country is another
  important indicator of continuing active exercise of nationality. For
  example, a dual national applicant who returns to the state sponsor
  country yearly likely still has significant ties to the country. An adult
  applicant who left as a child and has not returned may not have
  significant ties to the country. Absent other strong facts supporting a
  contrary conclusion, we would expect the dual national applicant who

  the applicant who left as a child not to be so treated. The consular officer
  must interview the applicant in order to make this determination.
e. (SBU) Any NIV applicant subject to Condor requirements must complete
   Form DS-157, Supplemental Nonimmigrant Visa Application, and appear
   in person for an interview (with very limited exceptions). If this process
   raises any suspicion that the applicant might, in any way, be involved in
   suspected terrorist behavior or activity, you must hold the case in
   abeyance under Section 221(g) and submit an SAO request via Visas
   Donkey (see 9 FAM Appendix G, 503), providing all the facts in the case
   for the Department review. Only if the applicant appears to be otherwise
   eligible for visa issuance (i.e., will not be refused under INA 214(b) (8
   U.S.C. 1184(b)) or an INA 212(a) (8 U.S.C. 1182(a)) category) should
   you submit a Visas Condor request.


9 FAM Appendix G, 504.3 Processing Visas Condor
Security Advisory Opinions (SAOs) (SBU)
(CT:VISA-1611;     12-28-2010)
(SBU) For the time being, Visas Condor must be submitted in SAO-IP. In
order to maintain the unclassified format, you must refer to the processing
instructions (see 9 FAM Appendix A, 600 (Classified)). The Department is
                                                  9 FAM Appendix G 500 Page 24 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 25 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                  (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9     Visas

working with interagency partners to eliminate any actions by post regarding
Condors.


9 FAM APPENDIX G, 505 FOURTH TIER:
"VISAS HORSE", "VISAS PEGASUS", AND
             (SBU)

9 FAM Appendix G, 505.1 General Guidance (SBU)
(CT:VISA-1137;      12-29-2008)
(SBU) Visas Pegasus, Visas Horse, and Visas Eagle are not really requests
for a Department opinion, but are instead travel notifications. The Horse
and Pegasus requirement pertain to a very limited number of aliens from the
Former Soviet Union/Commonwealth of Independent States. The Eagle
requirement pertains to a very limited number of aliens from Cuba, China,
Iran, Russia, and Vietnam. For nationals of these countries, refer to their
respective reciprocity schedules.


9 FAM Appendix G, 50                                                    (SBU)
(CT:VISA-1233;      06-23-2009)
a. (SBU) You must submit a "VISAS HORSE" arrival notice immediately
   following the issuance of an "A," "C-3," or "G" visa to any applicant from
   certain countries, as specified in the appropriate "Special Clearance and
   Issuance Procedures" section for the applicant's country of nationality
   (see paragraph c). If an applicant meets the VISAS HORSE
   requirements, but also meets the VISAS BEAR requirements, you must
   submit a VISAS BEAR SAO request.
b. (SBU) Report any derogatory information available. You must also
   provide a complete itinerary, including port of entry (POE), date of
   arrival, flight or other travel data, and information on any planned travel
   while in the United States.
c. (SBU) A Visas Horse request must be submitted immediately following
   the issuance of an A, C-3, or G visa. VISAS HORSE requests are required
   for the following aliens:
   (1)   China;
   (2)   Laos; and
   (3)   Vietnam.
                                                   9 FAM Appendix G 500 Page 25 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 26 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

9 FAM Appendix G, 505.3                                                  (SBU)
(CT:VISA-1233;     06-23-2009)
a. (SBU) Consular officers at posts in the countries of the Commonwealth of
   Independent States (CIS) may issue single-entry "A-1" or "A-2" visas on
   a post-check basis to nationals of CIS countries who are in CLASS as
   "DPT-00" entries (provided the UID or the Refusal Comments fields of the

   coming to the United States to attend pre-ministerial, ministerial, pre-
   summit, summit, or White House meetings, upon sending a Visas
   Pegasus. Only consular officers in CIS countries may submit a PEGASUS,
   and this is the only instance in which aliens who are "DPT-00" CLASS
   entries may be issued visas without the Department's prior SAO. All
   officers in non-CIS posts must submit "VISAS BEAR" SAO requests for the
   applicants described above.
b. (SBU) A Visas Pegasus SAO must be transmitted immediately following
   the issuance of a visa under these conditions. The Pegasus must include
   the official's name (including aliases and/or alternate spellings),
   nationality, date and place of birth, title or position, type of passport, visa
   classification, purpose of visit, length of stay, and complete itinerary. You
   must also provide a full citation of the "DPT-00" CLASS entry, including
   any "free field" notation.
c. (SBU) CIS countries are: Azerbaijan, Armenia, Belarus, Georgia,
   Kazakhstan, Kyrgyzstan, Moldova, Russia, Tajikistan, Turkmenistan,
   Uzbekistan, and Ukraine.


9 FAM Appendix G, 505.4                                            (SBU)
(CT:VISA-1444;     06-18-2010)
(SBU) A Visas Eagle travel notification must be submitted immediately
following the issuance of a visa to a very limited number of aliens from
Cuba, China, Iran, Russia, and Vietnam:
   (1)   (SBU) China: Visas Eagle travel notifications must be submitted for
         K nonimmigrant visa (NIV) applicants and immigrant visa (IV)
         applicants;
   (2)   (SBU) Cuba: Visas Eagle travel notifications must be submitted for
         all Cuban applicants, ages 16-80 who are applying for immigrant
         visas (IV) and who are not subject to the Visas Donkey
         requirement. The Department must be an addressee for all Visas
         Eagle requests. In addition, employees or officers of the
         Government of Cuba or the Communist party of Cuba who do
                                                  9 FAM Appendix G 500 Page 26 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 27 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
          U.S. Department of State Foreign Affairs Manual Volume 9     Visas

        require security advisory opinions (SAO) are subject to a Visas
        Eagle procedure. SAO requirements for Cuba are complicated;
        consular officers and staff should consult the Cuba reciprocity
        requirements;
  (3)   (SBU) Iran: Visas Eagle travel notifications must be submitted for
        Iranian immigrant visa (IV) applicants who meet the following
        conditions, unless they fall under any of the conditions for Visas
        Donkey or Mantis as described above:
        (a)   (SBU) Any male between the ages of 18 and 60 residing in
              Iran; or
        (b)   (SBU) Any immigrant visa (IV) applicant who has lived in the
              United States for 6 months or more;
  (4)   (SBU) Russia: Visas Eagle travel notifications must be submitted
        for K nonimmigrant visa (NIV) applicants, immigrant visa (IV)
        applicants, and applicants for refugee status who are ages 18-65.
        Both the Department and National Visa Center (NVC) Portsmouth
        must be included as action addressees on the Visas Eagle; and
  (5)   (SBU) Vietnam: Visas Eagle travel notifications are required for:
        (a)   (SBU) Former members of the military above the rank of
              major general (all members of the ARVN, army of South
              Vietnam excluded);
        (b)   (SBU) Former members of the central government above the
              equivalent of an office director (all members of the RVN,
              former government of South Vietnam, excluded);
        (c)   (SBU) Current members of the military and the central
              government of the ranks outlined above, who are not covered
              by a Visas Horse or Visas Bear cable, or when traveling
              privately; and
  NOTE: (SBU) Eagle notifications are not required for local or provincial
      officials unless such officials also play a significant role in the
      central government or in national party politics. The determination
      as to which politicians meet this criterion is left to posts.


9 FAM APPENDIX G, 506 PROCESSING DRUG
ENFORCEMENT ADMINISTRATION (DEA) HITS
(SBU)
(CT:VISA-1233;    06-23-2009)
                                                  9 FAM Appendix G 500 Page 27 of 29

                 SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 28 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

a. (SBU) We have converted all Drug Enforcement Administration (DEA) hits
                             quasi-refusal code P2C1. Additionally, DEA has
   uploaded case details pertaining to all DEA Consular Lookout and
   Support System (CLASS) records contained in the Narcotics and
   Dangerous Drug Information System (NADDIS) into the long comments
   field in CLASS. This update to the CLASS system provides all of the
   detailed data that we previously provided in response to security advisory
   opinion (SAO) and advisory opinion (AO) requests pertaining to CLASS
   records with DEA hits.
b. (SBU) The submission of SAOs and AOs with DEA hits is unnecessary, as
   you can now read the long comments in CLASS. Please process any DEA
   hits that would have otherwise been submitted in an SAO/AO on their
   own by reviewing the long comments field in the CLASS hits and
   proceeding as appropriate. If you need further information on a hit (such
   as a picture) please contact the closest DEA representative or Legal
   Attaché (Legat) directly. As with any ineligibility, if you have factual
   information and are unsure how to apply it to the ineligibility, contact
   Advisory Opinions Division (CA/VO/L/A) via e-mail or an AO.
c. (SBU) You can find the
   Divisions at DEA overseas offices. You can find the Federal Bureau of
                                       at Legal Attaché (Legat).


9 FAM APPENDIX G, 507 PROCESSING
INTERPOL HITS (SBU)
(CT:VISA-1409;     03-25-2010)
(SBU) InterPol lookouts in CLASS that were received from Treasury
Enforcement Communications System (TECS) have been converted from
                          -                    .
to an Interpol record do not have to go through the SAO process but should
be processed as an AO if the only hit associated with the applicant is a P2A1
hit. If there are any other applicable hits associated with the applicant in
addition to the P2A1, then an SAO is required.


9 FAM APPENDIX G, 508 REQUEST TO DELETE
"DPT-00" CLASS ENTRY (SBU)
(CT:VISA-1409;     03-25-2010)
(SBU) See 9 FAM Appendix D, 203.
                                                  9 FAM Appendix G 500 Page 28 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
   Case 1:22-cv-03434-TJK Document 40-10 Filed 02/28/24 Page 29 of 29
                 SENSITIVE BUT UNCLASSIFIED (SBU)
                 (Deliberative process; law enforcement information)
           U.S. Department of State Foreign Affairs Manual Volume 9    Visas

9 FAM APPENDIX G, 509 ENTER A QUASI-
REFUSAL IN CERTAIN CASES (SBU)
(CT:VISA-1444;     06-18-2010)
a. (SBU) If you submit an SAO request as a discretionary matter or because
   of the reason in 9 FAM Appendix G, 501.1(2), you must also concurrently
   make the appropriate quasi-refusal (for example, P3B or P3A1) in CLASS
   with the text "Security Advisory Opinion request pending" in the long
   comment field. The purpose of the quasi-refusal is to immediately alert
   other consular officers as well as the Department of Homeland Security
   that an SAO is pending where the reason for the SAO is not obvious.
b. (SBU) When you receive the response to the SAO request and have
   adjudicated the case accordingly, submit a CLOK request to remove the
   quasi-refusal from CLASS. Include the following language in the CLOK
   request if you are going to issue the visa: "The [insert appropriate quasi-
   refusal code] record was entered per 9 FAM Appendix G, 509, the SAO
   response from the Department was received, and post will issue the visa
   as soon as the Department removes the [insert appropriate quasi-refusal
   code] entry." Include the following language in the CLOK request in a
   refusal: "The [insert appropriate quasi-refusal code] record was entered
   per 9 FAM Appendix G, 509, the SAO response from the Department was
   received, and post has entered a INA 212(a) (8 U.S.C. 1182(a)) refusal
   into CLASS."
c. (SBU) Note that for urgent cases, post may request an expedited SAO
   (see 9 FAM Appendix G, 501.9-2) and, if appropriate, an expedited CLOK
   action. To expedite the CLOK action, send an e-mail to the CLOK-VO-I
   collective in the Global Address List. The subject line of the e-mail must
   say: "Expedite CLOK Deletion - Record Entered per 9 FAM Appendix G,
   509." Include the following information in the email to facilitate
   identification of the CLOK Deletion request: Applicant's Surname and
   Given Name (as listed in the visa case), DOB, POB, the CLASS record
   Unique ID (UID) number and quasi-refusal code, and the date on which
   the CLOK Deletion request was submitted.




                                                  9 FAM Appendix G 500 Page 29 of 29

                  SENSITIVE BUT UNCLASSIFIED (SBU)
